 Case: 1:14-cv-01748 Document #: 2447 Filed: 04/17/18 Page 1 of 3 PageID #:64612



                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS

IN RE: TESTOSTERONE REPLACEMENT                MDL No. 2545
THERAPY PRODUCTS LIABILITY                     Master Docket Case No. 1:14-cv-01748
LITIGATION
                                               Honorable Matthew F. Kennelly
This document relates to:
All Cases

   MOTION TO APPOINT NEGOTIATING PLAINTIFF COUNSEL AS TO LILLY DEFENDANTS
      Pursuant to the Case Management Orders regarding Plaintiffs’ leadership (CMO

No. 4, 6, 24) and the stay of proceedings as to the Lilly defendants (CMO 92 and Dkt.

No. 2359), the Plaintiffs’ Steering Committee hereby moves this Court for an Order

appointing Trent B. Miracle, Christopher A. Seeger, Ronald Johnson, Jr., and Michael A.

London as Negotiating Plaintiff Counsel in order to negotiate and execute a Master

Settlement Agreement with the Lilly defendants. A proposed Order is attached hereto

as Exhibit A.

      Plaintiffs’ Motion is unopposed by counsel for the Lilly defendants.




Dated: April 17, 2018                   Respectfully submitted,

                                         /s/ Trent B. Miracle
                                        Trent B. Miracle
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Case: 1:14-cv-01748 Document #: 2447 Filed: 04/17/18 Page 2 of 3 PageID #:64613



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                                    Plaintiffs’ Co-Lead Counsel on behalf of
                                    Plaintiffs’ Steering Committee




                                      2
 Case: 1:14-cv-01748 Document #: 2447 Filed: 04/17/18 Page 3 of 3 PageID #:64614



                                CERTIFICATE OF SERVICE
       I hereby certify that on April 17, 2018, I electronically transmitted the foregoing

document to the Clerk of the United States District Court using the CM/ECF system for

filing and service to all parties/counsel registered to received copies in this case.

                                            /s/ Brendan A. Smith
                                           Brendan A. Smith




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